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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

        IN RE:                                  }        CASE NUMBER: 8:19-bk-01274
                                                }
        NATIONAL RADIOLOGY                      }
         CONSULTANTS, P.A.                      }        JUDGE: Catherine Peek McEwen
                                                }
        DEBTOR.                                 }        CHAPTER 11


             DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

                                        FOR THE PERIOD
                                   FROM 06/01/2019 TO 06/30/2019

Comes now the above-named debtor and files its Monthly Operating Reports in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.



                                                         /s/ Daniel E. Etlinger
                                                         Attorney for Debtor’s Signature


Debtor's Address                                         Attorney's Address
and Phone Number:                                        and Phone Number:

9203 Pine Island Court                                   606 E. Madison Street



Tampa, Florida 33647                                     Tampa, Florida 33602

(844) 672-4723                                           (813) 229-2800

Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Trustee Office. Monthly Operating Reports must be filed by the 20th day of
the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the United
States Trustee Program Website, http://www.usdoj.gov/ust/r21/reg_info.htm
1)      Instructions for Preparations of Debtor’s Chapter 11 Monthly Operating Report
2)      Initial Filing Requirements
3)      Frequently Asked Questions (FAQs)http://www.usdoj.gov/ust/


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                                                 MOR-1
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                             Bank Balances

WF                 7574               7574   05/31/19    $       152.73
                      7687            7687   05/31/19    $     2,946.85
                      0607             607   05/31/19    $     1,217.96
CHASE              683                3683   05/31/19    $     1,090.86
                  6991                6991   05/31/19    $       384.27
                  8328                8328   05/31/19    $   453,511.90
                  2926                2926   05/31/19    $       242.90
                  2959                2959   05/31/19    $     1,395.97
                  2092                2092   05/31/19    $       354.59
                  3520                3520   05/31/19    $       950.37
                  3678                3678   05/31/19    $       562.69
  TOTAL                                                  $   462,811.09
WF                 7574               7574   06/30/19    $     3,088.56
                      7687            7687   06/30/19    $     4,805.10
                      0607             607   06/30/19    $    29,384.50
CHASE             3683                3683   06/30/19    $     4,734.70
                  6991                6991   06/30/19    $       323.30
                  8328                8328   06/30/19    $   361,388.39
                  2926                2926   06/30/19    $     2,912.73
                  2959                2959   06/30/19    $    22,838.83
                  2092                2092   06/30/19    $       626.47
                  3520                3520   06/30/19    $     1,355.67
                  3678                3678   06/30/19    $     1,941.11
  TOTAL                                                  $   433,399.36




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   balance as of the petition date.
(b)This figure will not change from month to month. It is always the amount of funds on hand as of the date of
    the petition.
(c)These two amounts will always be the same if form is completed correctly.
                   MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont’d)

                               Detail of Other Receipts and Other Disbursements

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.

                                                                                   Cumulative
        Description                                    Current Month              Petition to Date

 NONE




TOTAL OTHER RECEIPTS                                 ________________           _________________

“Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties
directors, related corporations, etc.). Please describe below:

                              Source
 Loan Amount                 of Funds                       Purpose                       Repayment Schedule
 NONE                                                ___________________                 __________________




OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line
5W.
                                                                            Cumulative
        Description                                Current Month             Petition to Date


SEE ATTACHED LIST – MOR-3.1




TOTAL OTHER DISBURSEMENTS                            __ __$26,403.37           ___    _$176,523.10




NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.


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 5W ‐ Other Operating Expenses

 DATE      CHECK # PAYEE                                                          PURPOSE                                 AMOUNT
  06/03/19  ACH    nCred                                                          Credentialling                           $   100.00
  06/03/19  1280 Vanguard Cleaning Systems                                        Janitorial                               $   244.13
                 1
  06/04/19  1275 Technology Partners/Imagine                                      Operating System                         $ 2,084.55
  06/05/19  1247 Helen Ketterer                                                   Refund                                   $   111.88
  06/05/19  1277 Data Media                                                       Statements/Postage                       $ 6,661.18
  06/07/19  1250 Jacquieline Hendrix                                              Refund                                   $    50.00
  06/07/19  1276 dexios                                                           Coding                                   $   200.00
  06/05/19  1252 Gorman Plunk Jr                                                  Refund                                   $    60.97
  06/11/19  1254 David McGee                                                      Refund                                   $   160.40
  06/10/19  ACH    Cintas                                                         Janitorial Supplies/Paper                $   310.42
  06/10/19  1257 Optimum Health                                                   Refund                                   $   163.79
  06/12/19  ACH    Pitney Bowes                                                   Postage                                  $   520.99
  06/14/19  ACH    QuickBooks                                                     Accounting System                        $    60.00
  06/14/19  1282 Appriver                                                         IT                                       $     2.95
  06/14/19  1284 2 Technology Partners/Imagine                                    Operating System                         $ 7,000.00
  06/14/19  1285 3 Technology Partners/Imagine                                    Data Software System                     $ 3,000.00
  06/17/19  1292 dexios                                                           Coding                                   $   128.00
  06/17/19  1293 Gulf Coast Collection Bureau                                     Collections                              $   464.93
  06/18/19  1291 Data Media                                                       Statements/Postage                       $   111.23
  06/19/19  1289 Change Healthcare                                                Medical Records                          $ 4,189.00
  06/19/19  1290 Cintas                                                           Janitorial Supplies/Paper                $   310.42
  06/21/19  ACH    QuickBooks                                                     Accounting System                        $    60.00
  06/25/19  1297 EEI Security                                                     Security System                          $    97.49
  06/25/19  1299 Tampa Legal Copies                                               Mailing of Plan/Disclosure/Ballot        $   999.45
  06/26/19  ACH    Pitney Bowes                                                   Postage                                  $    27.82
  06/28/19  1296 dexios                                                           Coding                                   $   160.00

    SUBTOTAL ‐ CHASE DIP ACCOUNT                                                                                          $ 27,279.60

    SUBTOTAL ‐ MERCHANT FEES                                                      Payment Processing                      $     982.02



   06/10/19 DEP              Repaid Unauthorized Charge                           Breckenridge                            $   (2,858.25)
   06/25/19 ACH              IRS                                                  2014 Taxes                              $    1,000.00

    SUBTOTAL ‐ WELLS FARGO ACCOUNT #7687                                                                                  $   (1,858.25)



    TOTAL OTHER OPERATING EXPENSES                                                                                        $ 26,403.37


1 - This represents May 2019 payment, however, the payment did not clear until June.

2- June 2019 payment.

3 - Incorrectly identified as Technology Partners, should, payment was actually Ramsoft.




                                                                         MOR 3.1
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     National Radiology Consultants 02152019
                                BALANCE SHEET
                                As of June 30, 2019


                                                                        TOTAL
       ASSETS
        Current Assets
        Bank Accounts
         NRC MAIN CHK (8328)                                         349,787.26
         Wells Fargo 7687 (old)                                        2,946.85
        Total Bank Accounts                                      $352,734.11
        Total Current Assets                                     $352,734.11
       TOTAL ASSETS                                              $352,734.11

       LIABILITIES AND EQUITY
        Liabilities
        Current Liabilities
         Accounts Payable
          Accounts Payable (A/P)                                      54,833.91
         Total Accounts Payable                                      $54,833.91
        Total Current Liabilities                                    $54,833.91
        Total Liabilities                                            $54,833.91
        Equity
        Opening Balance Equity                                        53,214.33
        Owner's Pay & Personal Expenses                               -3,884.25
        Retained Earnings                                            -25,146.71
        Net Income                                                   273,716.83
        Total Equity                                             $297,900.20
       TOTAL LIABILITIES AND EQUITY                              $352,734.11




                 Accrual Basis Monday, July 8, 2019 05:44 AM GMT-7                       1/1
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     National Radiology Consultants 02152019
                                PROFIT AND LOSS
                            February 15 - June 30, 2019


                                                                         TOTAL
       Income
        Sales                                                         907,338.39
       Total Income                                               $907,338.39
       GROSS PROFIT                                               $907,338.39
       Expenses
        Ask My Accountant                                              12,595.02
        Bank Charges & Fees                                            58,835.93
        Billing                                                        80,496.61
        Cleaning                                                        2,969.00
        Consultant                                                     59,546.00
        Employee Benefits                                               1,997.41
        Insurance                                                      35,638.43
        Legal & Professional Services                                   2,386.51
        Office Supplies & Software                                      8,482.46
        Office/General Administrative Expenses                           721.86
        payroll                                                       289,275.97
        Reimbursable Expenses                                            234.77
        Rent & Lease                                                    9,891.06
        security                                                         194.98
        Taxes & Licenses                                                4,821.00
        Technology                                                      8,913.96
        Teleradiology/Imaging                                          30,257.00
        Utilities                                                       8,977.62
       Total Expenses                                             $616,235.59
       NET OPERATING INCOME                                       $291,102.80
       Other Expenses
        Other Miscellaneous Expense                                    17,102.97
       Total Other Expenses                                           $17,102.97
       NET OTHER INCOME                                           $ -17,102.97
       NET INCOME                                                 $273,999.83




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                                             ATTACHMENT 1

           MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor: National Radiology Consultants, P.A.               Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019       Period ending      06/30/2019

ACCOUNTS RECEIVABLE AT PETITION DATE: $ 11,425,816.18

                          ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have
not been received):

        Beginning of Month Balance                        $ 7,745,8323.34 (a)
          PLUS: Current Month New Billings
          MINUS: Collection During the Month              $      (153,194.67) (b)
          PLUS/MINUS: Adjustments or Write-offs           $       795,787.57 *
        End of Month Balance                              $     6,796,850.10 (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:
Denied claims differences between billed and what Medicare and Insurance paid (hundreds of
accounts)

                      * POST PETITION ACCOUNTS RECEIVABLE AGING
                    (Show the total for each aging category for all accounts receivable)

        0-30 Days         31-60 Days       61-90 Days         Over 90 Days       Total

     $ 121,388.10       $ 21,941.14 $ 136,867.36 $ 6,516,653.50 $ 6,796,850.10 (c)
  * Software does not allow for breaking down Pre-Petition/Post-Petition Accounts Receivable

For any receivables in the “Over 90 Days” category, please provide the following:

                         Receivable
   Customer               Date           Status (Collection efforts taken, estimate of collectability,
                                         write-off, disputed account, etc.)
Cannot
provide
(HIPAA)


(a)This number is carried forward from last month’s report. For the first report only, this number will be
   the balance as of the petition date.
(b)This must equal the number reported in the “Current Month” column of Schedule of Receipts and
    Disbursements (Page MOR-2, Line 2B).
(c)These two amounts must equal.

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                                                                   AGING ‐ NRC




NRC AR ‐ AS OF 5/31/19
ENTITY           0‐30            31‐60            61‐90             91‐120           121‐180             181+              TOTAL      Closed
TX         $           ‐     $          ‐     $          ‐     $           ‐     $     1,280.00   $   1,875,979.30   $   1,877,259.30    18‐May
NC          $          ‐     $          ‐     $          ‐     $           ‐     $           ‐    $     766,305.16   $     766,305.16     18‐Sep
IL          $          ‐     $          ‐     $          ‐     $           ‐     $           ‐    $     409,029.97   $     409,029.97    18‐Mar
NRC         $    51,247.41   $   157,353.14   $   699,732.40   $    523,138.77   $   653,862.60   $   2,607,903.59   $   4,693,237.91    19‐Mar
   TOTALS $      51,247.41   $   157,353.14   $   699,732.40   $    523,138.77   $   655,142.60   $   5,659,218.02   $   7,745,832.34




NRC AR ‐ AS OF 6/30/19
ENTITY           0‐30            31‐60            61‐90             91‐120           121‐180             181+              TOTAL      Closed
TX         $           ‐     $          ‐     $          ‐     $           ‐     $     1,140.00   $   1,749,966.01   $   1,751,106.01    18‐May
NC          $          ‐     $          ‐     $          ‐     $           ‐     $           ‐    $     746,491.38   $     746,491.38     18‐Sep
IL          $          ‐     $          ‐     $          ‐     $           ‐     $           ‐    $     344,096.93   $     344,096.93    18‐Mar
NRC         $ 121,388.10     $    21,941.14   $   136,867.36   $    440,330.97   $   626,111.56   $   2,608,516.65   $   3,955,155.78    19‐Mar
   TOTALS $ 121,388.10       $    21,941.14   $   136,867.36   $    440,330.97   $   627,251.56   $   5,449,070.97   $   6,796,850.10




                                                                    MOR 4.1
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                                     ATTACHMENT 2
                  MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor: National Radiology Consultants, P.A.              Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                      Period ending       06/30/2019

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include
amounts owed prior to filing the petition. In the alternative, a computer-generated list of payables may be attached
provided all information requested below is included.
                                     POST-PETITION ACCOUNTS PAYABLE
  Date               Days
 Incurred         Outstanding            Vendor                   Description                             Amount




TOTAL AMOUNT                                                                                    $0.00                  (b)
☐ Check here if pre-petition debts have been paid. Attach an explanation and copies of supporting
  documentation.

            ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)
Opening Balance                              $ 0.00                (a)
  PLUS: New Indebtedness Incurred This Month $ 0.00
  MINUS: Amount Paid on Post Petition,
          Accounts Payable This Month        $ 0.00
  PLUS/MINUS: Adjustments                    $ 0.00               *
Ending Month Balance                         $ 0.00                (c)

*For any adjustments provide explanation and supporting documentation, if applicable.

                                        SECURED PAYMENTS REPORT
List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a
modification agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee
Program prior to completing this section).
                                                                         Number            Total
                                    Date                                 of Post           Amount of
Secured                             Payment           Amount             Petition          Post Petition
Creditor/                           Due This          Paid This          Payments          Payments
Lessor                              Month             Month              Delinquent        Delinquent

CHASE – Adeq. Protection Pmt.            06/30/19           $11,216.22                0                      0



TOTAL                                                      $11,216.22 (d)
(a)This number is carried forward from last month’s report. For the first report only, this number will be zero.
(b, c) The total of line (b) must equal line (c).
(d)This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).



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                                          ATTACHMENT 3
                                 INVENTORY AND FIXED ASSETS REPORT

Name of Debtor: National Radiology Consultants, P.A.           Case Number: 8:19-bk-01274

Reporting Period beginning     06/01/2019                       Period ending     06/30/2019

                                                INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE:                            $          N/A
INVENTORY RECONCILIATION:
      Inventory Balance at Beginning of Month                  $                                     (a)
        PLUS: Inventory Purchased During Month                 $
        MINUS: Inventory Used or Sold                          $
        PLUS/MINUS: Adjustments or Write-downs                 $                                     *
      Inventory on Hand at End of Month                        $

METHOD OF COSTING INVENTORY:

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

                                                INVENTORY AGING

         Less than 6       6 months to       Greater than      Considered
         months old        2 years old       2 years old       Obsolete       Total Inventory

                  %                   %                  %                %       =             100%*

* Aging Percentages must equal 100%.
☐ Check here if inventory contains perishable items.

Description of Obsolete Inventory:        N/A

                                             FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE:                       $ 10,000                   (b)
(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION (First Report Only): 19 desks, 10 RAD workstations, 18 desktop computers,
6 laptop computers, 3 servers, 26 chairs, 17 scanners, 1 HP printer/copier, 16 desktop printers, 17 telephones

FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month                    $ 10,000.00                       (a)(b)
        MINUS: Depreciation Expense                             $      0.00
        PLUS: New Purchases                                     $      0.00
        PLUS/MINUS: Adjustments or Write-downs                  $      0.00                      *
Ending Monthly Balance                                          $ 10,000.00

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD:
 (a)This number is carried forward from last month’s report. For the first report only, this number will be the
   balance as of the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.
   Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.
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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019                    Period ending       06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Chase Bank                                               BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:               8328

PURPOSE OF ACCOUNT:                  DIP ACCOUNT

        Ending Balance per Bank Statement                              $ 361,388.39
        Plus Total Amount of Outstanding Deposits                      $       0.00
        Minus Total Amount of Outstanding Checks and other debits      $       0.00                *
        Minus Service Charges                                          $       0.00
        Ending Balance per Check Register                              $ 361,388.39                **(a)

*Debit cards are used by James Okoh, MD

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: (☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account




(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).

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                                       ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                 Period ending    06/30/2019

NAME OF BANK: Chase Bank                               BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                 8328

PURPOSE OF ACCOUNT:                    DIP ACCOUNT

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER           PAYEE                    PURPOSE                            AMOUNT

 06/17    FEE          Chase                   Service Fee                              373.10

 SEE MOR-3.1 FOR ITEMIZED LIST OF EXPENSES




TOTAL                                                                              $    27,652.70



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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning     06/01/2019                     Period ending        06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Wells Fargo Bank, N.A.                              BRANCH: Wesley Chapel, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:                7574

PURPOSE OF ACCOUNT: Lockbox (NC)

        Ending Balance per Bank Statement                              $      3,088.56
        Plus Total Amount of Outstanding Deposits                      $          0.00
        Minus Total Amount of Outstanding Checks and other debits      $          0.00*
        Minus Service Charges                                          $          0.00
        Ending Balance per Check Register                              $      3,088.56 **(a)

*No Debit Card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account



(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: Wells Fargo Bank, N.A.                 BRANCH: Wesley Chapel, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                   7574

PURPOSE OF ACCOUNT: Lock Box (NC)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                        PURPOSE                            AMOUNT
06/06     ACH          VANTIV                      MERCHANT FEE                        $ 27.42
06/06     ACH          VANTIV                      MERCHANT FEE                        $ 72.49
06/11     FEE          WF                          SERVICE FEE                         $ 238.87




TOTAL                                                                              $     338.78



{00325603.DOCX}
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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019                    Period ending       06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Wells Fargo Bank, N.A.                              BRANCH: Wesley Chapel, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:                2004

PURPOSE OF ACCOUNT: Business Checking

        Ending Balance per Bank Statement                              $         0.00
        Plus Total Amount of Outstanding Deposits                      $         0.00
        Minus Total Amount of Outstanding Checks and other debits      $         0.00*
        Minus Service Charges                                          $         0.00
        Ending Balance per Check Register                              $         0.00**(a)

*No debit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account



(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                       ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: Wells Fargo Bank, N.A.            BRANCH: Wesley Chapel, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                 2004

PURPOSE OF ACCOUNT: Business Checking

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                PURPOSE                          AMOUNT
          TRANS        WELLS FARGO          CLOSED – TRANFERRED
                                            TO DIP ACCOUNT
                                            IN MARCH 2019




TOTAL                                                                              $    0.00


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                                              ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning     06/01/2019                    Period ending       06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Wells Fargo Bank, N.A.                              BRANCH: Wesley Chapel, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:                   0607

PURPOSE OF ACCOUNT: Lockbox (Oak Hill Hospital – FL)

        Ending Balance per Bank Statement                             $    29,384.50
        Plus Total Amount of Outstanding Deposits                     $         0.00
        Minus Total Amount of Outstanding Checks and other debits     $         0.00*
        Minus Service Charges                                         $         0.00
        Ending Balance per Check Register                             $    29,384.50 **(a)

*No debit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount            Payee                 Purpose                 Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account




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(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).
                                             ATTACHMENT 5A

                          CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning             06/01/2019                    Period ending         06/30/2019

NAME OF BANK: Wells Fargo Bank, N.A.                    BRANCH: Wesley Chapel, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                          0607

PURPOSE OF ACCOUNT: Lockbox (Oak Hill Hospital - FL)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

           CHECK
DATE       NUMBER         PAYEE                    PURPOSE                               AMOUNT
06/05      FEE            AMEX                     MERCHANT FEE                          $   3.83
06/06      FEE            VANTIV                   MERCHANT FEE                          $ 199.95
06/06      FEE            VANTIV                   MERCHANT FEE                          $ 326.62
06/11      FEE            WELLS FARGO              BANK FEE                              $ 691.11




TOTAL                                                                                            $ 1,221.51


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                                              ATTACHMENT 4A

                  MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning     06/01/2019                    Period ending       06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Wells Fargo Bank, N.A.                              BRANCH: Wesley Chapel, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:                   3622

PURPOSE OF ACCOUNT:           Money Market

        Ending Balance per Bank Statement                             $         0.00
        Plus Total Amount of Outstanding Deposits                     $         0.00
        Minus Total Amount of Outstanding Checks and other debits     $         0.00*
        Minus Service Charges                                         $         0.00
        Ending Balance per Check Register                             $         0.00 **(a)

*No credit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount            Payee                 Purpose                 Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account




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(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).
                                             ATTACHMENT 5A

                          CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning             06/01/2019                    Period ending         06/30/2019

NAME OF BANK: Wells Fargo Bank, N.A.                    BRANCH: Wesley Chapel, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                          3622

PURPOSE OF ACCOUNT: Money Market

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

           CHECK
DATE       NUMBER         PAYEE                    PURPOSE                               AMOUNT
           TRANS          WELLS FARGO              CLOSED – TRANSFERRED
                                                   TO DIP ACCOUNT
                                                   IN MARCH




TOTAL                                                                                            $     0.00


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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019                    Period ending        06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Chase Bank                                BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:               3683

PURPOSE OF ACCOUNT: Lockbox (Miami)

        Ending Balance per Bank Statement                              $      4,734.70
        Plus Total Amount of Outstanding Deposits                      $          0.00
        Minus Total Amount of Outstanding Checks and other debits      $          0.00*
        Minus Service Charges                                          $           0.00
        Ending Balance per Check Register                              $       4,734.70 **(a)

*No debit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account

(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: Chase Bank                       BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:               3683

PURPOSE OF ACCOUNT: Lockbox (Miami)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                   PURPOSE                       AMOUNT
06/06     FEE          VANTIV                MERCHANT FEE                   $ 30.43
06/06     FEE          VANTIV                MERCHANT FEE                   $ 30.40




TOTAL                                                                              $   60.83




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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019                    Period ending       06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Chase Bank                                BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:                991

PURPOSE OF ACCOUNT: Lockbox (IL)

        Ending Balance per Bank Statement                              $       323.30
        Plus Total Amount of Outstanding Deposits                      $         0.00
        Minus Total Amount of Outstanding Checks and other debits      $         0.00*
        Minus Service Charges                                          $         0.00
        Ending Balance per Check Register                              $       323.30 **(a)

*No debit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account



(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: Chase Bank                       BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                991

PURPOSE OF ACCOUNT: Lockbox (IL)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                PURPOSE                          AMOUNT
06/06     FEE          VANTIV               MERCHANT FEE                     $ 30.52
06/06     FEE          VANTIV               MERCHANT FEE                     $ 30.45




TOTAL                                                                              $   60.97




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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019                    Period ending        06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Wells Fargo Bank, N.A.                              BRANCH: Wesley Chapel, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:                     687

PURPOSE OF ACCOUNT: OPERATING ACCOUNT (FEEDS TO CHASE DIP ACCOUNT)

        Ending Balance per Bank Statement                              $      4,805.10
        Plus Total Amount of Outstanding Deposits                      $          0.00
        Minus Total Amount of Outstanding Checks and other debits      $          0.00*
        Minus Service Charges                                          $          0.00
        Ending Balance per Check Register                              $      4,805.10 **(a)

*Debit cards are used by James Okoh, MD

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account



(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: WELLS FARGO BANK, N.A.                     BRANCH: WESLEY CHAPEL, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                    7687

PURPOSE OF ACCOUNT: Main Checking (now DIP Account)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                PURPOSE                           AMOUNT

SEE MOR-3.1 FOR ITEMIZED LIST OF EXPENSES




                       ________________
                       ________________




TOTAL                                                                              $ (1,858.25)




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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning     06/01/2019                     Period ending        06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Chase Bank                                BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:                926

PURPOSE OF ACCOUNT: Lockbox (Miami, FL)

        Ending Balance per Bank Statement                              $      2,912.73
        Plus Total Amount of Outstanding Deposits                      $          0.00
        Minus Total Amount of Outstanding Checks and other debits      $          0.00*
        Minus Service Charges                                          $          0.00
        Ending Balance per Check Register                              $      2,912.73 **(a)

*No debit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account



(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: Chase Bank                       BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                 926

PURPOSE OF ACCOUNT: Lockbox (Miami, FL)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                   PURPOSE                        AMOUNT
06/03     FEE          PAYMENTECH              MERCHANT FEE                    $ 32.50
06/07     FEE          CHASE                   SERVICE FEE                     $ 374.91




TOTAL                                                                              $   407.41




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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019                    Period ending       06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Chase Bank                                BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:               2959

PURPOSE OF ACCOUNT: Lockbox (Oak Hill Hospital, FL)

        Ending Balance per Bank Statement                              $    22,838.83
        Plus Total Amount of Outstanding Deposits                      $         0.00
        Minus Total Amount of Outstanding Checks and other debits      $         0.00*
        Minus Service Charges                                          $         0.00
        Ending Balance per Check Register                              $    22,838.83 **(a)

*No debit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account



(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                       ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: Chase Bank                       BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                 2959

PURPOSE OF ACCOUNT: Lockbox (Oak Hill Hospital, FL)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                   PURPOSE                        AMOUNT
06/03     FEE          PAYMENTECH              MERCHANT FEE                   $ 32.50
06/17     FEE          CHASE                   SERVICE FEE                    $ 844.09
06/07     NSF          CHASE                   PATIENT NSF                       13.61




TOTAL                                                                              $    890.20




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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019                    Period ending       06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Chase Bank                                BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:                092

PURPOSE OF ACCOUNT: Lockbox (TX)

        Ending Balance per Bank Statement                              $       626.47
        Plus Total Amount of Outstanding Deposits                      $         0.00
        Minus Total Amount of Outstanding Checks and other debits      $         0.00*
        Minus Service Charges                                          $         0.00
        Ending Balance per Check Register                              $       626.47 **(a)

*No debit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account



(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: Chase Bank                       BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                2092

PURPOSE OF ACCOUNT: Lockbox (TX)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                    PURPOSE                      AMOUNT
06/17     FEE          CHASE                    SERVICE FEE                  $    26.94




TOTAL                                                                              $   26.94



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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019                    Period ending        06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Chase Bank                                BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:               3520

PURPOSE OF ACCOUNT: Lockbox (TX)

        Ending Balance per Bank Statement                              $      1,355.87
        Plus Total Amount of Outstanding Deposits                      $          0.00
        Minus Total Amount of Outstanding Checks and other debits      $          0.00*
        Minus Service Charges                                          $          0.00
        Ending Balance per Check Register                              $       1,355.87 **(a)

*No debit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account


(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: Chase Bank                       BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                3520

PURPOSE OF ACCOUNT: Lockbox (TX)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                     PURPOSE                     AMOUNT
06/03     FEE          PAYMENTECH               MERCHANT FEE                 $  32.50
06/17     FEE          CHASE                    SERVICE FEE                  $ 318.34




TOTAL                                                                              $   350.84



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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.         Case Number: 8:19-bk-01274

Reporting Period beginning     06/01/2019                     Period ending        06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK: Chase Bank                                BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.                ACCOUNT NUMBER:               3678

PURPOSE OF ACCOUNT: Lockbox (IL)

        Ending Balance per Bank Statement                              $      1,941.11
        Plus Total Amount of Outstanding Deposits                      $          0.00
        Minus Total Amount of Outstanding Checks and other debits      $          0.00*
        Minus Service Charges                                          $          0.00
        Ending Balance per Check Register                              $      1,941.11 **(a)

*No debit card

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement

 N/A




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                          $ 0.00 Transferred to Payroll Account
                          $ 0.00 Transferred to Tax Account


(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).


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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019                Period ending     06/30/2019

NAME OF BANK: Chase Bank                       BRANCH: Tampa, FL

ACCOUNT NAME: National Radiology Consultants, P.A.

ACCOUNT NUMBER:                678

PURPOSE OF ACCOUNT: Lockbox (IL)

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER       PAYEE                    PURPOSE                       AMOUNT
06/03     FEE          PAYMENTECH               MERCHANT FEE                  $ 32.50
06/17     FEE          CHASE                    SERVICE FEE                   $ 321.06




TOTAL                                                                              $ 353.56




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                                              ATTACHMENT 4B

              MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.            Case Number: 8:19-bk-01274

Reporting Period beginning         06/01/2019                   Period ending        06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity.
A standard bank reconciliation form can be found at http://www.usdoj.gov/ust/r21/reg_info.htm.

NAME OF BANK:                   N/A                       BRANCH:

ACCOUNT NAME:                                             ACCOUNT NUMBER:
PURPOSE OF ACCOUNT:                      PAYROLL

        Ending Balance per Bank Statement                                       $
         Plus Total Amount of Outstanding Deposits                              $
         Minus Total Amount of Outstanding Checks and other debits              $                         *
         Minus Service Charges                                                  $
        Ending Balance per Check Register                                       $                         **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:
The following disbursements were paid by Cash: (☐ Check here if cash disbursements were authorized
by United States Trustee)

Date         Amount            Payee                  Purpose          Reason for Cash Disbursement




The following non-payroll disbursements were made from this account:

Date      Amount            Payee           Purpose                    Reason for disbursement from this
                                                                       account

_____
_____
_____

(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                      ATTACHMENT 5B

                        CHECK REGISTER - PAYROLL ACCOUNT


Name of Debtor: National Radiology Consultants, P.A. Case Number: 8:19-bk-01274

Reporting Period beginning        06/01/2019             Period ending      06/30/2019

NAME OF BANK:                 N/A                        BRANCH:

ACCOUNT NAME:

ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                    PAYROLL

Account for all disbursements, including voids, lost payments, stop payment, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

        CHECK
DATE    NUMBER             PAYEE                         PURPOSE                        AMOUNT




TOTAL                                                                               $


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                                               ATTACHMENT 4C

                     MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT

Name of Debtor: National Radiology Consultants, P.A.              Case Number: 8:19-bk-01274

Reporting Period beginning      06/01/2019                        Period ending    06/30/2019

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found on the United States Trustee website,
http://www.usdoj.gov/ust/r21/index.htm.

NAME OF BANK:                N/A                     BRANCH:

ACCOUNT NAME:                                        ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                   TAX

        Ending Balance per Bank Statement                         $
         Plus Total Amount of Outstanding Deposits                $
         Minus Total Amount of Oustanding Checks and other debits $                          *
         Minus Service Charges                                    $
        Ending Balance per Check Register                         $                           **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:


The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were authorized by
                                                   United States Trustee)
Date      Amount             Payee              Purpose                Reason for Cash Disbursement




The following non-tax disbursements were made from this account:

Date      Amount              Payee                 Purpose            Reason for disbursement from this account




(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                           ATTACHMENT 5C

                               CHECK REGISTER - TAX ACCOUNT


Name of Debtor: National Radiology Consultants, P.A.              Case Number: 8:19-bk-01274

Reporting Period beginning         06/01/2019               Period ending          06/30/2019

NAME OF BANK:                    N/A                        BRANCH:

ACCOUNT NAME:                                               ACCOUNT #

PURPOSE OF ACCOUNT:                        TAX

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.
http://www.usdoj.gov/ust/
          CHECK
DATE NUMBER               PAYEE                  PURPOSE                            AMOUNT




TOTAL                                                                                                   (d)
                                     SUMMARY OF TAXES PAID

Payroll Taxes Paid                                                                                      (a)
Sales & Use Taxes Paid                                                                                  (b)
Other Taxes Paid                                                                                        (c)
TOTAL                                                                                         _________ (d)


(a) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5O).
(b) This number is reported in the “Current Month” column of Schedule or Receipts and Disbursements
    (Page MOR-2, Line 5P).
(c) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5Q).
(d) These two lines must be equal.

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                                     ATTACHMENT 4D

                INVESTMENT ACCOUNTS AND PETTY CASH REPORT

                             INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks
and bonds, etc., should be listed separately. Attach copies of account statements.

Type of Negotiable
                                                                                   Current
Instrument            Face Value        Purchase Price      Date of Purchase       Market Value

NONE




TOTAL                                                                                             (a)
                                   PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

                      (Column 2)             (Column 3)                    (Column 4)
                      Maximum                Amount of Petty          Difference between
Location of           Amount of Cash         Cash On Hand             (Column 2) and
Box/Account           in Drawer/Acct.        At End of Month          (Column 3)

Unknown                Unknown                $78.95                    Unknown



TOTAL                                        $ 78.95            (b)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If
there are no receipts, provide an explanation




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH (a + b) $                             78.95        (c)


(c)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
   amount reported as “Ending Balance” on Schedule of Receipts and Disbursements (Page
   MOR-2, Line 7).

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                                               ATTACHMENT 6

                                        MONTHLY TAX REPORT

Name of Debtor: National Radiology Consultants, P.A.                   Case Number: 8:19-bk-01274

Reporting Period beginning             06/01/2019                      Period ending       06/30/2019

                                         TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales
tax, property tax, unemployment tax, State workmen's compensation, etc.

Name of                   Date                                                      Date Last
Taxing                    Payment                                                   Tax Return    Tax Return
Authority                 Due              Description              Amount          Filed         Period




TOTAL                                                           $           0.00

  * Plus penalties and interest, subject to verification by the I.R.S. and accountant




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                                                  ATTACHMENT 7

                           SUMMARY OF OFFICER OR OWNER COMPENSATION

                       SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debtor: National Radiology Consultants, P.A.          Case Number: 8:19-bk-01274

Reporting Period beginning       06/01/2019                   Period ending       06/30/2019

Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include
car allowances, payments to retirement plans, loan repayments, payments of Officer/Owner’s personal expenses,
insurance premium payments, etc. Do not include reimbursement for business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.
                                                       Payment
Name of Officer or Owner             Title             Description                       Amount Paid

NONE




                                              PERSONNEL REPORT
                                                                            Full Time           Part Time
Number of employees at beginning of period                                      8                 0
Number hired during the period                                                  0                 0
Number terminated or resigned during period                                     0                 0
Number of employees on payroll at end of period                                 8                 0

                                       CONFIRMATION OF INSURANCE

List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft,
comprehensive, vehicle, health and life. For the first report, attach a copy of the declaration sheet for each type of
insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during
the month (new carrier, increased policy limits, renewal, etc.).

Agent                                                                                                  Date
and/or                     Phone               Policy            Coverage               Expiration     Premium
Carrier                    Number              Number            Type                   Date           Due

AMZ Insurance Group        352-556-5258                      1300 Prop. & Liab.     04/01/2020         04/01/2020
The Doctors Company        305-372-9950           4811          Malpractice         11/21/2019         Monthly

                                                                                                       __________

The following lapse in insurance coverage occurred this month:

Policy            Date               Date
Type              Lapsed             Reinstated          Reason for Lapse



⁪ Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.

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                                                  ATTACHMENT 8


                     SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not
reported on this report, such as the sale of real estate (attach closing statement); (2) non-financial transactions, such
as the substitution of assets or collateral; (3) modifications to loan agreements; (4) change in senior management,
etc. Attach any relevant documents.




We anticipate filing a Plan of Reorganization and Disclosure Statement on or before

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                                                        MOR-16
